F~~~Case ~~~~         ,~F~~a~~:~ , ~ozio6o19i~
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  Susan M. Kozlowski
                                                                                                                                     ~s            ~ . .,...        r
                                                                                                                       ~''' ~.
  WHEN RECORDED, MAIL TO:

                                                                                                                                    yP,~ z zo~~
  CLERK, U.S. DISTRICT COURT                                                                                    E. ,........,._..   a~~                        ~~..... ._...,

  255 East Temple Street, Ste. TS-134
  LOS ANGELES, CALIFORNIA 9Q012




                              SHORT FORM DEED OF TRUST AND ASSIGNMENT OF RENTS
                INCO[tPORATING BY REFERENCC CERTAIN PROVtSIQIVS OF A FICTITIOUS DEED OF TRUST OF RECORD
  THIS DEED OF TRUST, Made this                4/12121 between Susan M. Kozlowski, Trustee of the Susan M. Kozlowski
  Revocable Living Trust dated January 8, 2010                 herein called TRUSTOR, whose address is
  441 S. Barrington Ave #311, Los Angeles CA 90049              and First Corporate Solutions, Inc.
  herein called TRUSTEE; and  Clerk, U.S. District Court,  Central   District ref California,
  herein called BENEFICIARY ~ WITNESSETH: TNAT TRUSTOR IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE IN TRUST
  WITH POWER OF SALE THAT PROPERTY IIESCRI66D AS FOLLOWS :StB[e Of CSIIEOI'Illa,        County of                                    Los Angeles

  See attached exhibit "A" for legal description
                                                                                                                                    ACCOMOQATIC~N


  Common Address:            441 S. Barrington Ave #311, Los Angeles CA 90049                                  AYN~/ 4401-010-091
  TOGETHER      WITH  she rents, issues and profits thereof, SUDJECT,  HOWEVER,      to the right, power and authority  given m and conferred upon
  Beneficiary by paragraph (10) of [he previsions incorporated herein by reference to collect and apply such rents, issues and profits, for the
  Purpose of Securing: 1 . Perfnrmxnce of each agreement of Trustar incoeYx~rated by reference or contained herein under bonds) posted on behalf
  of defendant{s)             Zachary i~iorwitz                                         in Case Nn 21-MJ-1631-1
  which includes an obligation by said Trustor{s) surety(ies) in the amount of                            $                 1,000,000.00

  To protect the security of this Deed of Trust, and with respect to the property above described, Trustor expres,ly makes each and
  all of the agreement, and adopts and agrees to perfom~ and be bound by each and all of the terms and provisions set forth in
  subdivision A of that certain Fictitious Deed of Trust referenced herein, and it is mutually agreed that all of the provisions set forth
  in subdivision B of that certain Fictitious Deed of Trust recorded in the book and page of Official Records in the office of the county
  recorder of the county where said property is located, noted below opposite the name ofsuch county, namely:

   COUNTY           AOOK         PAGE         COUNTY           BOOK         PAGE        COUNTY                  BOOK                 PAGE          COUNTY                BOOK        PAGE
  Alartxda          l2NM          556            Kings           RSS          713       Placer                    1028                     379     Sierra                       38    X87

  Alpine              7          13~)~7l         Lake            437             1111   Plumas                    166                     13U7     Sisklyuu                 SO6      7h2

  A madnr            133          438           Lassen           192          367       Riverside                3778                      347     SoSanu                  1287       b2I

  Butte             I3J0          519         l.osAngelrs     RlIAfl4fiS     J72A65     Sacramento            71-10-26b15                          So~wrt~a                2Q67      427

  Calaveras          185          33A           Madera           yl l            136    San Benito                3(iQ                     405     Stanitilaus             197Q       56

  Calusa             323          391            Mario           1849            ld2    Sun Bernardino        8-18-64 6217                 7tiR    Sutter                   b55      SBS

  ContreCoaw        4(iA4           l          Mariposa          9fl          433       Sun Franc~scu            A-R(~                     396     Tctiama                  457       183

  llel Norm          lUl          549          Mendocino         6ti7            99     San luayuin              2N55                      283     Trinity                  IQ8      595

  EI Dorado          7(M          675           Merced           166             753    San Luis Obispo           1311                     137     Tulare                  2550       1(kS

  Fresno            5032          ti23          Modot            141             9~     San Mateo                4778                      175     Tuolutrme                177       1(~

  Glenn              4h9           76            Mnn~>            h9             3U2    Santa 8arhara            2065                      bbl     Ventura                 2507       237

  HumbuWt            NQI           83          Monterey          357             239    Santa Clara              6026                      664     Yolo                     769       16

  knperial           1 189        701            Napa            7(kl            ?d2    Santa Cruz                1638                     607      Yuba                    ~9R      693

  [nyo               Ib5          672           Nevada           363             94     Shasu                     800                      633

  Kern              3~Sb          fi90          Orange           7182            IS     Sin Diego             Series 5 1964               149774

               CR-5 (04104)                                 SHORT FORM DEEP OF TRUST
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shall inure to and bind the parties hereto, with respect to the property above described. Said agreements, terms and provisions contained in said
subdivisions A and B, (identical in all counties) are preprinted on pages 3-4 hereof and are by the within reference thereto, incorporated
herein and made a part of this Deed of Trust for all purposes. as fully a,s if set forth at length herein, and Beneficiary may charge for a statement
regarding the obligation secured hereby, provided the charge thereof does not exceed the maximum allowed by laws.


The undersigned Trustor requests that a copy of any Notice of Default and of any Notice of Sale hereunder be mailed to him at his
address hereinbefore set forth


x            /~.
Susan M. Kozlowski, T see of the Susan M. Kozlowski
Revocable Living Trust dated January 8, 2010

                A notary public or other officer completing this certifcate verifies only the identity of the individual who signed
              the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of That document

State of California
County of         Los Angeles

On            4/12/21      before me         fl      E,~~ b ~f                  , a notary public, personally appeared
Susan M. Kozlowski
who proved to me on the basis of satisfactory evidence to be the person(~l} whose name(~j is/are subscribed to the within instrument
and acknowledged to me that ~i~e/she/t~keq executed the same in~tis/her/tbe~ authorized capacity(+es), and that by k~/her!tk~r signature(~J
on the instrument the person(~t), or the entity upon behalf of which the person(~S) acted executed the instrument.

I certify under PENALTY OF PERNRY under the laws of the State of California that the foregoing paragraph is true and correct.

WITNESS my hand and official seal.                                            `y~~.0i ry         A, ESCOBAR
                                                                              _            Notary Public •California =
                                                                             -~ ~~            Los Angeles County      ~
                                                                                            Commission q 2276787
                                                                               °'~°°"'0~ My Comm. Expires Mar 4, 2023

Signature of Notary Public                                               (Notary Seal)




                                                            REQUEST FOR FULL CONVEYANCE
                                                            To be used only when note has been paid.




To                                                                        Trustee          Dated

            The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of Trust. All sums
secured by said Deed of Trust have been fully paid and satisfied; and you are hereby requested and directed, on payment
to you of any sums owing to you under the terms of said Deed of Trust, to cancel all evidences of indebtedness, secured
by said Deed of Trust, delivered to you herewith together with the said Deed of Trust, and to reconvey, without warranty,
to she parties designated by the terms of said Deed of Trust, the estate now held by you under the same.

M AIL CONVEYANCE TO:




                               Do not lose or destroy this Deed of Trust OR THE NOTE which it secures.
                            Both must be delivered to the Trustee for cancellation before reconveyance will be made.


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~                ~                              exhibit "A"
r..r:


                                          LEGAL DESCRIPTION
        THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF LOS ANGELES, STATE QF
        CALIFORNIA, AND IS DESCR]BED AS FOLLOWS:

        A CONDOMINIUM COMPRISED OF:


        PARCEL 1:


        A) AN UNDIVIDED 1/45 INTEREST [N AND TO LOT 1 OF TRACT NO. 6807 , 1N THE CITY OF LOS ANGELES,
        COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED iN BOOK 1387, PAGES 53
        THROUGH 55, INCLUSIVE,, OF MAPS,IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

        EXCEPT THEREFROM LTN[TS 101 THROUGH 111, INCLUSIVE, 201 THROUGH 211, INCLUSIVE, 301 THROUGH
        312, INCLUSIVE, AND 401 THROUGH 411, INCLUSIVE, AS SHOWN AND DEFINED ON THE CONDOMRIIUM
        PLAN RECORDED DECEMBER 10, 2015 AS INSTRITMENT NO. 20151553986, OFFICIAL RECORDS

        R) UNIT 31 l AS SHOWN AND DEFINED ON Tl-~ CONDOMINIUM PLAN` AF30VE MENTIONED

        PARCEL 2:

        AN EXCLUSIVE EASEMENT FOR PARKMG STALL PURPOSES OVER THOSE AREAS BEARING THE UNIT
        N UMBER DESIGNATION FOLLOWED BY THE LETTER "P" OR "C" AS SHOWN AND DEFINED AS EXCLUSIVE
        USE COMMON AREA ON THE CONDOMINIUM PLAN ABOVE MENTIONED.

        PARCEL 3:

        AN EXCLUSIVE EASEMENT FOR BALCONY AREA PURPOSES OVER THOSE AREAS BEARING THE UNIT
        NUMBER DESIGNATION FOLLOWED BY THE LETTER "B" AS SHOWN AND DEFINED AS EXCLUSIVE USE
        COMMON AREA ON THE CONDOMINIUM PLAN ABOVE MENTIONED,
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